 Case 3:17-cv-00048-GMG Document 25 Filed 10/18/17 Page 1 of 2 PageID #: 86




                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

ROBERT L. MILLS II,
individually and on behalf of all
others similarly situated,

               Plaintiff,

v.                                                            Civil Action no. 3:17-cv-48
                                                              The Honorable Gina M. Groh

INFOMART, INC.,

               Defendant.

                                    Notice of Settlement
               Plaintiff, Robert L. Mills II, and Defendant, InfoMart, Inc., hereby inform the

Court that the parties in the above-styled action have reached an agreement in principle to

resolve this matter in its entirety. The parties are in the process of finalizing a settlement

agreement and anticipate filing a Rule 41(a) dismissal with prejudice within the next week. The

parties therefore respectfully request that all deadlines and hearings be stayed pending the filing

of the stipulation of dismissal.


               Dated this day of 18th day of October, 2017.


/s/ Patrick C. Timony                             /s/ John W. Barrett
Patrick C. Timony (WVSB 11717)                    John W. Barrett (WVSB 7289)
BOWLES RICE LLP                                   Ryan M. Donovan (WVSB 11660)
Post Office Box 1386                              BAILEY & GLASSER LLP
Charleston, West Virginia 25325                   209 Capitol Street
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Counsel for Defendant                             Counsel for Plaintiff
 Case 3:17-cv-00048-GMG Document 25 Filed 10/18/17 Page 2 of 2 PageID #: 87




                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

ROBERT L. MILLS II,
individually and on behalf of all
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               Plaintiff,

v.                                                         Civil Action no. 3:17-cv-48
                                                           The Honorable Gina M. Groh

INFOMART, INC.,

               Defendant.

                                    Certificate of Service

               I, Patrick C. Timony, do hereby certify that on this 18th day of October, 2017, I
electronically filed the foregoing Notice of Settlement with the Clerk of Court using the
CM/ECF system, which will send notification of such filing to the following:

John W. Barrett                                  Leonard A. Bennett
Ryan Donnovan                                    Craig C. Marchiando
BAILEY & GLASSER LLP                             Consumer Litigation Associates, P.C.
209 Capitol Street                               763 Clyde Morris Blvd., Suite 1-A
Charleston, West Virginia 25301                  Newport News, VA 23601

Kristi C. Kelly
Andrew J. Guzzo
Kelly & Crandall, PLC
3925 Chain Bridge Road, Suite 202
Fairfax, Virginia 22030

                                                   /s/ Patrick C. Timony
                                                   Patrick C. Timony (WVSB 11717)




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